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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

LEVINE HAT CO.,                                    )
                                                   )
          Plaintiff,                               )
                                                   )
v.                                                 ) No. 4:16-CV-1132-SNLJ
                                                   )
INNATE INTELLIGENCE, LLC,                          )
et al.,                                            )
                                                   )
          Defendants.                              )

           DEFENDANT PROFAX, INC.’S REQUEST FOR ADDITIONAL TIME
          TO FILE MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT


          COMES NOW Defendant Profax, Inc. (“Profax”), through its undersigned counsel, and

respectfully requests that the Court allow the Parties additional time to file their Motion for

Preliminary Approval of Class Settlement. In support of this Request, Profax states as follows:

          1.      Following an update to the Court regarding status of settlement negotiations, the

Court on December 3, 2019, entered a docket Order providing that the Parties’ motion for

preliminary approval of class settlement be filed by December 13, 2019. (Dkt. 164.)

          2.      Upon Profax’s request, the Court allowed the Parties three additional business

days, through and including December 18, 2019, in which to file their motion for preliminary

approval of class settlement while the Parties were in the process of reviewing and finalizing the

settlement documents and motion for preliminary approval. (Dkt. 165.)

          3.      The Parties have now completed their review of and approved the settlement

documents, which have been circulated for signature.

          4.      Profax has undertaken the task of assembling the motion package. Several of the

signatories are located outside Missouri and some are currently traveling outside of their home



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domiciles with limited access to communications technologies, making the logistics of obtaining

signatures unusually difficult.

          5.    Accordingly, Profax respectfully requests that the Parties be allowed through and

including December 23, 2019, to file their motion for preliminary approval of class settlement.

Profax will endeavor to file the motion package prior to December 23, if logistically possible.

          6.    This motion is made in good faith in the interests of justice and efficiency, and not

for purposes of delay.

          WHEREFORE, Defendant Profax, Inc. respectfully requests that the Court allow the

Parties through and including December 23, 2019, in which to file their motion for preliminary

approval of class settlement.


December 19, 2019                                      Respectfully submitted,

                                              GREENSFELDER, HEMKER & GALE, P.C.

                                              By       /s/ Mary Ann L. Wymore
                                                       Mary Ann L. Wymore, #44061
                                                       mlw@greensfelder.com
                                                       Dawn M. Johnson, #41991
                                                       dmj@greensfelder.com
                                                       Abby L. Risner, #57999
                                                       alr@greensfelder.com
                                                       10 South Broadway, Suite 2000
                                                       St. Louis, Missouri 63102
                                                       Telephone: 314-241-9090
                                                       Facsimile: 314-241-8624

                                              Attorneys for Defendant Profax, Inc.




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 19th day of December, 2019, a true and correct copy
of the foregoing was filed with the Clerk of the Court to be served by operation of the Court’s
electronic filing system on all attorneys of record.

                                                      /s/ Mary Ann L. Wymore




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